Case 2:22-cv-14102-DMM Document 224-1 Entered on FLSD Docket 07/14/2022 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 2:22-cv-14102-DMM
DONALD J. TRUMP,
Plaintiff
V.
HILLARY R. CLINTON, et al.,
Defendants.

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CERTIFICATION OF THE DIRECTOR OF THE TORTS BRANCH,
CIVIL DIVISION, UNITED STATES DEPARTMENT OF JUSTICE

I, James G. Touhey, Jr., am the Director of the Torts Branch, Civil Division, United
States Department of Justice, responsible for most civil litigation under the Federal Tort Claims
Act. I have read the amended complaint dated June 21, 2022, in the above-captioned case.
Pursuant to 28 U.S.C. § 2679, and by virtue of the authority vested in me pursuant to 28 C.F.R. §
15.4, I hereby certify, on the basis of the information now available with respect to the incidents
alleged in the complaint, that defendants James Comey, Andrew McCabe, Peter Strzok, Lisa
Page, and Kevin Clinesmith were acting within the scope of their employment with the Federal
Bureau of Investigation at the time of the alleged conduct at issue.

Dated: July 14, 2022

Dn eee

/AAMES G. TOUHEY, JR.
ae Torts Branch
Civil Division, United States Department of Justice
